                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

Dalton Khloe Beyer,                            )
                                               )       ORDER RE PRETRIAL
                Plaintiff,                     )       SCHEDULING/ DISCOVERY PLAN
                                               )
        vs.                                    )
                                               )
James Sayler, Warden, in his individual        )
capacity, Shaun Fode, Deputy Warden,           )
in his individual capacity and Joseph          )
Charvat, Chief of Security, in his             )
individual capacity,                           )               Case No. 1:19-cv-281
                                               )
                Defendant.                     )


        In lieu of conducting an initial pretrial scheduling/discovery conference in this case pursuant

to Rule 16(b) of the Federal Rules of Civil Procedure,

        IT IS HEREBY ORDERED that each of the parties shall submit to the court a proposed

pretrial plan by April 13, 2020. The proposed pretrial plan should cover any applicable items listed

in the attached sample as well as any other items appropriate in this case. All deadlines in the

proposed pretrial plan must lapse within fourteen months of the date of filing of the complaint in this

case. The plans should not be filed with the court, but submitted to the Magistrate Judge at P.O. Box

670, Bismarck, ND 58502-670 or emailed to ndd_J-Miller@ndd.uscourts.gov. Upon receipt and

review of the proposed plans, the court will enter pretrial case management plan and will schedule

the trial for this matter.

        Dated this 13th day of March, 2020.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court
